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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

UNITED SERVICES AUTOMOBILE                 §
ASSOCIATION                                §
                                           §    CIVIL ACTION NOS. 2:21-CV-00246-JRG
v.                                                                2:22-CV-00193-JRG
                                           §
PNC BANK N.A.

                     MINUTES FOR JURY TRIAL DAY NO. 2
             HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                               September 13, 2022

OPEN: 08:28 AM                                                    ADJOURN:    06:39 PM

ATTORNEYS FOR PLAINTIFF:                       See attached

ATTORNEYS FOR DEFENDANT:                       See attached

LAW CLERKS:                                    Katie Albanese
                                               Ryan Davies
                                               Harris Huguenard

COURT REPORTER:                                Shawn McRoberts, RMR, CRR

COURTROOM DEPUTY:                              Andrea Brunson, CP

    TIME                                  MINUTE ENTRY
 08:28 AM    Court opened.
 08:29 AM    Exhibits used prior day read into the record.
 08:31 AM    Jury entered the courtroom.
 08:31 AM    Continuation of USAA’s case-in-chief:
 08:32 AM    Witness sworn. Direct examination of Professor Thomas Conte by Ms. Glasser.
 09:37 AM    Jury recessed for break.
 09:37 AM    Recess.
 09:51 AM    Court reconvened.
 09:52 AM    Jury returned to courtroom.
 09:52 AM    Cross examination of Professor Thomas Conte by Mr. Mueller.
 09:56 AM    Bench conference.
 09:57 AM    Bench conference concluded.
 09:57 AM    Continuation of cross examination of Professor Thomas Conte by Mr. Mueller.
 10:08 AM    Bench conference.
 10:11 AM    Bench conference concluded.
 10:11 AM    Continuation of cross examination of Professor Thomas Conte by Mr. Mueller.
 10:55 AM    Redirect examination of Professor Thomas Conte by Ms. Glasser.
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    TIME                                      MINUTE ENTRY
 11:02 AM    Recross examination of Professor Thomas Conte by Mr. Mueller.
 11:09 AM    Further redirect examination of Professor Thomas Conte by Ms. Glasser.
 11:09 AM    Completion of testimony of Professor Thomas Conte.
 11:09 AM    Ms. Glasser introduced the video deposition of Mr. Thomas Trebilcock.
 11:27 AM    Video deposition of Mr. Thomas Trebilcock concluded.
 11:27 AM    Ms. Glasser introduced the video deposition of Mr. Alexander Goodstein.
 11:30 AM    Video deposition of Mr. Alexander Goodstein concluded.
 11:31 AM    Jury recessed for lunch break.
 11:33 AM    Recess.
 01:10 PM    Court reconvened.
 01:11 PM    Court explained delay in reconvening from lunch break.
 01:17 PM    Objection made by Mr. Lantier on behalf of Defendant.
 01:17 PM    Court ruled thereon as set forth in the record.
 01:18 PM    Jury returned to courtroom.
 01:19 PM    Witness sworn. Direct examination of Mr. David Kennedy by Mr. Bunt.
 01:31 PM    Courtroom sealed.
 01:31 PM    Continuation direct examination of Mr. David Kennedy by Mr. Bunt.
 01:41 PM    Courtroom unsealed.
 01:42 PM    Continuation direct examination of Mr. David Kennedy by Mr. Bunt.
 02:19 PM    Bench conference.
 02:20 PM    Bench conference concluded.
 02:20 PM    Cross examination of Mr. David Kennedy by Mr. Mueller.
 02:49 PM    Courtroom sealed.
 02:49 PM    Bench conference.
 02:50 PM    Bench conference concluded.
 02:50 PM    Continuation cross examination of Mr. David Kennedy by Mr. Mueller.
 03:19 PM    Redirect examination of Mr. David Kennedy by Mr. Bunt.
 03:33 PM    Courtroom unsealed.
 03:34 PM    Continuation redirect examination of Mr. David Kennedy by Mr. Bunt.
 03:39 PM    Recross examination of Mr. David Kennedy by Mr. Mueller.
 03:44 PM    Completion of testimony of Mr. David Kennedy.
 03:44 PM    Jury recessed for break.
 03:45 PM    Recess.
 04:04 PM    Court reconvened.
 04:05 PM    Mr. Lantier brought up evidentiary issue.
 04:09 PM    Mr. Sheasby provided responsive argument.
 04:10 PM    Court provided instruction as set forth in the record.
 04:18 PM    Jury returned to courtroom.
 04:19 PM    USAA rested its case-in-chief.
 04:19 PM    PNC’s case-in-chief:
 04:20 PM    Witness sworn. Direct examination of Ms. Karen Larrimer by Ms. Smith.
 04:57 PM    Cross examination of Ms. Karen Larrimer by Ms. Glasser.
 05:20 PM    Redirect examination of Ms. Karen Larrimer by Ms. Smith.
 05:25 PM    Bench conference
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    TIME                                    MINUTE ENTRY
 05:26 PM    Bench conference concluded.
 05:26 PM    Completion of testimony of Ms. Karen Larrimer.
 05:26 PM    Bench conference.
 05:28 PM    Bench conference concluded.
 05:28 PM    Witness sworn. Direct examination of Mr. Tom Kunz by Mr. Lantier.
 06:00 PM    Bench conference
 06:04 PM    Bench conference concluded.
 06:04 PM    Court instructed the Jury to disregard a portion of the testimony of Mr. Tom Kunz.
 06:06 PM    Cross examination of Mr. Tom Kunz by Ms. Glasser.
 06:14 PM    Bench conference.
 06:19 PM    Bench conference concluded.
 06:19 PM    Continuation cross examination of Mr. Tom Kunz by Ms. Glasser.
 06:28 PM    Redirect examination of Mr. Tom Kunz by Mr. Lantier.
 06:31 PM    Completion of testimony of Mr. Tom Kunz.
 06:32 PM    Jury recessed until 8:30 AM tomorrow morning.
 06:32 PM    Court addressed disputed matters with counsel.
 06:37 PM    Court reminded parties to continue with their meet and confer efforts re: overnight
             disputes. Court will be available in chambers in the morning to meet with counsel
             to address same.
 06:38 PM    Mr. Sheasby presented an issue before the Court.
 06:39 PM    Court adjourned.
